                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

                                                )
 A.T., et al.,                                  )
                                                )
         Plaintiffs,                            )          Case No. 1:22-CV-110-TAV-SKL
                                                )
 v.                                             )
                                                )
 Cleveland City Schools Board of                )
 Education, et al.,                             )
                                                )
         Defendants.                            )
                                                )
                                                )


                                 FINDINGS OF THE CLERK


        Defendants Cleveland City Schools Board of Education, et al., filed a Bill of Costs

against Plaintiffs, A.T., et al., in the amount of $2,431.90 on October 1, 2024. [Doc. 1]. The

Plaintiffs have not filed an objection and the time for doing so has now passed. E.D. Tenn. L.R.

54.1. Accordingly, the matter is ripe for determination.

                                      Standard of Review

        Pursuant to Federal Rule of Civil Procedure 54(d)(1), “[u]nless a federal statute, these

rules, or a court order provides otherwise, costs—other than attorney’s fees—should be allowed

to the prevailing party.” Title 28 United States Code section 1920 defines the term “costs” and

“enumerates [the] expenses that a federal court may tax as costs under the discretionary authority

found in Rule 54(d).” Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 441-42 (1987);

see also 28 U.S.C. § 1920 (2018). That is, the Clerk may only tax costs as permitted by Title 28

United States Code sections 1821 and 1920, or as otherwise provided by law. See 28 U.S.C. §§

1821 and 1920.

                                                1

Case 1:22-cv-00110-TAV-SKL          Document 66 Filed 11/19/24             Page 1 of 4     PageID
                                          #: 819
         Although the Court has discretion to deny costs, there is a presumption in favor of awarding

costs to the prevailing party. Fed. R. Civ. P. 54(d); see Freeman v. Blue Ridge Paper Products,

Inc., 624 Fed. Appx. 934, 938 (6th Cir. 2015) (stating Rule 54(d) “creates a presumption in favor

of awarding costs, but allows denial of costs at the discretion of the trial court”). Bills of costs

filed in this Court must be prepared in accordance with the Court’s Guidelines on Preparing Bills

of Costs. See E.D. Tenn. L.R. 54.1. The Clerk will not tax costs that do not comply with the

Guidelines or that are not supported with appropriate documentation. E.D. Tenn. L.R. 54.1,

Guidelines I(A).

                                         Deposition Transcript Fees

         “Costs of printed or electronically recorded transcripts are taxable if (1) the transcripts were

necessarily obtained for use in the case and (2) the deposition was reasonably necessary at the time

of its taking.” E.D. Tenn. L.R. 54.1, Guidelines III(D)(1). The Sixth Circuit permits the taxation

of costs for both the video deposition and corresponding paper transcripts. BDT Prods., Inc. v.

Lexmark Intern., Inc., 405 F.3d 415, 420 (6th Cir. 2005). However, the Court limits the amount

recoverable as costs for deposition transcripts and has adopted the Judicial Conference transcript

rates as the maximum taxable transcript fees notwithstanding what fee may have been charged to

the party by the court reporter. Id. at Guidelines III(D)(2). The current rates are $4.40 per page

for an original transcript and $1.10 per page for a copy, but at the time this bill of costs was

submitted, the rates were $4.00 per page for an original transcript and $1.00 per page for a copy. 1

Costs of deposition transcripts that do not set forth the number of pages or rate per page will not

be taxed. Id. at Guidelines III(D)(2)(i). The Guidelines further provide that “[e]xtra fees charged

by reporters for mileage, per diem, expeditious handling, condensed transcripts, ASCII disks,


1
  The Clerk will apply the rates applicable at the time of the depositions were taken. On October 1, 2024, these
rates increased. See https://www.uscourts.gov/services-forms/federal-court-reporting-program.


                                                   2
Case 1:22-cv-00110-TAV-SKL                 Document 66 Filed 11/19/24                   Page 2 of 4         PageID
                                                 #: 820
postage, deposition exhibits, etc., shall not be taxed, unless advanced authorization was sought and

received from the Court.” E.D. Tenn. L.R. 54.1, Guidelines III(D)(4).

       Accordingly, the provisions of the Guidelines will be applied to the invoices for the

deposition transcripts as follows:

       1.      Invoice No. 20931 [Doc. 64-2, p. 4]. For the original deposition transcript of A.T.,

$540.00 (135 pages x $4.00) will be taxed as costs. The remaining $67.50 requested will not be

taxed because the amount charged per page exceeds the amount allowable under the Guidelines.

For the original deposition transcript of B.G., $496.00 (124 pages x $4.00) will be taxed as costs.

The remaining $62.00 requested will not be taxed because the amount charged per page exceeds

the amount allowable under the Guidelines. For the original deposition transcript of J.G., $724.00

(181 pages x $4.00) will be taxed as costs. The remaining $90.50 requested will not be taxed

because the amount charged per page exceeds the amount allowable under the Guidelines. The

$400.00 requested for an all-day attendance fee will be taxed as costs as within the amount allowed

by the Guidelines. E.D Tenn. L.R. 54.1, Guidelines III(D)(3). Defendants also requests as costs

the $51.90 charged for exhibits for the depositions, although Defendants requested these as costs

for “fees and disbursements for printing.”       [Doc. 64, p. 1].     However, unless advanced

authorization was sought and received from the Court, extra fees charged by reporters such as

deposition exhibits may not be taxed. E.D. Tenn. L.R. 54.1, Guidelines III(D)(4). Accordingly,

the $51.90 will not be taxed.

       The total amount TAXED AS COSTS for deposition transcript fees is $2,160.00.

                                      Total Allowed Costs

       The following costs are hereby taxed against Plaintiff in favor of Defendant, pursuant to

Federal Rule Civil Procedure 54(d) and Eastern District of Tennessee Local Rule 54.1:




                                             3
Case 1:22-cv-00110-TAV-SKL           Document 66 Filed 11/19/24            Page 3 of 4      PageID
                                           #: 821
      Fees for Transcripts:             $2,160.00

      TOTAL ALLOWED COSTS:              $2,160.00



                                          LEANNA R. WILSON, CLERK

                                           By: s/ Chris Field

                                               Chief Deputy Clerk




                                      4
Case 1:22-cv-00110-TAV-SKL    Document 66 Filed 11/19/24        Page 4 of 4   PageID
                                    #: 822
